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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN



GS HOLISTIC, LLC,
                                               Case No. 1:25-cv-00203
                    Plaintiff,

v.                                             DEMAND FOR JURY TRIAL

FROGGY’S DEPOT LLC d/b/a
FROGGY’S DEPOT and SANNON
PAULSON,

                    Defendants.


        COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       The Plaintiff, GS HOLISTIC, LLC (hereinafter referred to as “GS”), by and

through its undersigned counsel, hereby files this, its Complaint against the

Defendants, FROGGY’S DEPOT LLC d/b/a FROGGY’S DEPOT and SANNON

PAULSON (collectively, “Defendants”), and alleges, as follows:

                            Jurisdictional Allegations

      1.     This is a civil action against the Defendants for trademark infringement,

counterfeiting, and false designation of origin and unfair competition, under the

Lanham Act (15 U.S.C. § 1051 et. seq.).

      2.     This Court has subject matter jurisdiction over the claims in this action

that relate to trademark infringement, counterfeiting, and false designation of origin
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and unfair competition pursuant to the provisions of 15 U.S.C. § 1121 and 28 U.S.C.

§§ 1331 and 1338(a).

                                         Venue

      3.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) in that

the Defendants reside in this district, the cause of action occurred in this district, and

a substantial part of the events or omissions giving rise to these claims occurred in

this judicial district, and Defendants have extensive contacts with this judicial

district relating to GS’ claims. The Defendants conduct regular and systematic

business transactions in this judicial district, including direct sales to consumers in

this judicial district, which violate the intellectual property rights of GS.

                                         Parties

      4.     GS HOLISTIC, LLC is a Delaware Limited Liability Corporation that

has its principal place of business at 7162 Beverly Boulevard, #207, Los Angeles,

California 90036. GS is the registered owner of the Stündenglass trademarks.

      5.     FROGGY’S DEPOT LLC d/b/a FROGGY’S DEPOT (hereinafter

referred to as “FROGGY’S DEPOT”) is a limited liability company that was

organized and existing under the laws of the State of Michigan and has its principal

place of business at 421 Capital Avenue NE, Battle Creek, MI 49017. SANNON

PAULSON owns and operates FROGGY’S DEPOT at that location. FROGGY’S

DEPOT is a citizen of Michigan.

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      6.    SANNON PAULSON is domiciled in and a resident of Battle Creek,

Michigan, and is sui juris. SANNON PAULSON is a citizen of Michigan and

regularly conducts and solicits business in the State of Michigan (including this

Judicial District). SANNON PAULSON is the owner of FROGGY’S DEPOT LLC

d/b/a FROGGY’S DEPOT.           SANNON PAULSON controls and directs the

activities, including the infringing activities, of Defendant FROGGY’S DEPOT

LLC d/b/a FROGGY’S DEPOT.

                          Facts Common to All Counts

The History of The Stündenglass Brand.

      7.    Since 2020, GS has marketed and sold products using the well-known

trademark “Stündenglass.” The Stündenglass branded products, such as gravity

infuser waterpipes and accessories related thereto, are widely recognized nationally

and internationally. Indeed, the Stündenglass brand is one of the leading companies

in the industry, known for high quality and innovation of products.

      8.    For approximately four years, GS has worked to distinguish the

Stündenglass brand as the premier manufacturer of gravity infuser waterpipes by

emphasizing the brand’s unwavering use of quality materials and focusing on

scientific principles which facilitate a superior infusing experience. Stündenglass

branded products embody a painstaking attention to detail, which is evident in many

facets of authentic Stündenglass branded products. It is precisely because of the

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unyielding quest for quality and unsurpassed innovation that Stündenglass branded

products have a significant following and appreciation amongst consumers in the

United States and internationally.

      9.     As a result of the continuous and extensive use of the trademark

“STÜNDENGLASS,” GS was granted both valid and subsisting federal statutory

and common law rights to the Stündenglass trademark.

      10.    GS is the rightful owner of United States trademarks, which are

registered on the Principal Register. The following is a list of GS’ relevant federally

registered trademarks:

             a.     U.S. Trademark Registration Number 6,633,884 for the standard

      character mark “Stündenglass” in association with goods further identified in

      registration in international class 011.

             b.     U.S. Trademark Registration Number 6,174,292 for the design

      plus words mark “S” and its logo in association with goods further identified

      in the registration in international class 034.

             c.     U.S. Trademark Registration Number 6,174,291 for the standard

      character mark “Stündenglass” in association with goods further identified in

      registration in international class 034.

             d.     U.S. Trademark Registration Number 7,028,399 for the standard
      character mark “Gravity Perfected” in association with goods further
      identified in registration in international class 010.
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      11.    The above U.S. registrations are valid, subsisting and in full force and

effect. True and correct copies of the Trademark Registrations are attached hereto

and marked as Exhibit “A.” Hereinafter, GS utilizes the phrase “Stündenglass

Marks” to refer to, collectively, GS’ federally registered, above-listed trademarks.

The Stündenglass Brand in the United States

      12.    GS has used the Stündenglass Marks in commerce throughout the

United States, continuously, since 2020, in connection with the manufacturing and

sale of gravity infuser waterpipes and accessories.

      13.    The Stündenglass Marks are distinctive to both the consuming public

and the Plaintiff’s trade. GS’ Stündenglass branded products are made from superior

materials. The superiority of Stündenglass branded products is not only readily

apparent to consumers, but to industry professionals as well.

      14.    The Stündenglass Trademarks are exclusive to GS and appear clearly

on GS’ Stündenglass Products, as well as on the packaging and advertisements

related to the products. GS has expended substantial time, money, and other

resources in developing, advertising, and otherwise promoting and protecting these

Trademarks. As a result, products bearing GS’ Stündenglass Trademarks are widely

recognized and exclusively associated by consumers, the public, and the trade as

being high-quality products sourced from GS.

      15.    GS’ Stündenglass Products have become some of the most popular of

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their kind in the world and have also been the subject of extensive unsolicited

publicity resulting from their high-quality and innovative designs. Because of these

and other factors, the GS brand, the Stündenglass brand, and GS’ Stündenglass

Trademarks are famous throughout the United States.

      16.    Since 2020, GS has worked to build significant goodwill in the

Stündenglass brand in the United States. GS has spent substantial time, money, and

effort in developing consumer recognition and awareness of the Stündenglass brand,

via point of purchase materials, displays, through their websites, attending industry

trade shows, and through social media promotion.

      17.    In fact, Stündenglass Products have been praised and recognized by

numerous online publications, as well as publications directed to the general public.

      18.    Due to the high quality of the brand and products, GS has collaborated

with numerous celebrities and companies to create collaborations for the

Stündenglass products.

      19.    GS sells its products under the Stündenglass Marks to authorized stores

in the United States, including in Michigan. GS has authorized approximately 3,000

stores in the United States to sell its products. As such, Stündenglass branded

products reach a vast array of consumers throughout the country.

      20.    It is because of the recognized quality and innovation associated with

the Stündenglass Marks that consumers are willing to pay higher prices for genuine

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Stündenglass products.      For example, a Stündenglass brand gravity infuser

waterpipes is priced at retail at $599.95, while a counterfeit non-Stündenglass

gravity infuser waterpipes with the fake Stündenglass mark is being sold for a range

of $199 to $600.

        21.   It is exactly because of their higher sales value that Stündenglass

branded products are targeted by counterfeiters. The counterfeiters tarnish the

Stündenglass brand by unlawfully selling gravity infuser waterpipes that have

identical, or nearly identical, versions of the Stündenglass Marks affixed to products

that are made with inferior or different materials, thereby leading to significant

illegitimate profits by SANNON PAULSON, such as the Defendants in the instant

case.

        22.   In essence, the Defendants mislead consumers by selling in their stores

low grade products that take a free ride on the goodwill of the Stündenglass brand,

and in turn, the Defendants reap ill-begotten profits. The Defendants’ offering for

sale of counterfeit Stündenglass products contributes to the complete flooding of the

marketplace with Stündenglass counterfeit products, which results in lost sales and

damages to GS and irreparable harm to the Stündenglass brand’s image.

        23.   Moreover, GS offers a 10-year warranty on its products, and when the

counterfeit products break or need repair, innocent purchasers learn that they do not

have a warranty on the goods, tarnishing GS’ public image.

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      24.    The sale of the counterfeit products also cause harm to GS in that

legitimate store owners will not purchase authentic Stündenglass gravity infuser

waterpipes when stores selling counterfeit products are selling products which

appear to be identical and at half the price which authentic products can be sold.

      25.    Unfortunately, the current U.S. marketplace is saturated with

counterfeit Stündenglass products – just like those SANNON PAULSON, through

his store, FROGGY’S DEPOT, is offering for sale. As such, GS has been forced to

scrupulously enforce its rights in order to protect the Stündenglass Marks against

infringement.      By exercising its Enforcement Rights, GS has proactively and

successfully policed the unauthorized use of the Stündenglass Marks and/or

counterfeit Stündenglass branded products nationwide. GS has had to bear great

expense to seek out and investigate suspected counterfeiters in GS’ attempt to clean

up the marketplace.

Defendants’ Counterfeiting and Infringing Activities

      26.    The Defendants operate a retail smoke shop through which they sell

water pipes, cigarettes, electronic cigarettes, vaporizers, tobacco, and other smoking

related devices.

      27.    The Defendants have offered for sale counterfeit Stündenglass

products with the Stündenglass trademark and without the consent of GS. In fact,

they have offered counterfeit gravity infuser waterpipes bearing imitations of the

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Stündenglass Trademarks that were not made or authorized by GS. These are

hereinafter the “Counterfeit Goods.”

      Defendant’s Counterfeit Goods          Plaintiff’s Authentic Product




      28.    Nevertheless, the Defendants have offered for sale in commerce the

Counterfeit Goods, specifically, the Defendants have offered for sale reproductions,

counterfeits, copies and/or colorable imitations of one or more of the Stündenglass

Marks (hereinafter the “Infringing Marks”), detailed above.

      29.    The Defendants have, without the consent of GS, offered for sale in

their store, the Counterfeit Goods bearing the Infringing Marks, bearing the likeness

of the Stündenglass Trademarks in the United States.

      30.    The marks affixed to the Counterfeit Goods that the Defendants have

offered for sale are spurious marks which are identical with, or substantially

indistinguishable from, the Stündenglass Trademarks. The marks on the Counterfeit

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 Goods are in fact counterfeit marks as defined in 15 U.S.C. § 1116(d).

       31.    Moreover, the products upon which the Counterfeit Marks are affixed

 are almost identical to authentic products, so the offering for sale of the almost

 identical products with indistinguishable marks causes confusion in the marketplace

 among consumers.

       32.    In the ongoing investigation into the sales of counterfeit products

 bearing the fake Stündenglass Marks, FROGGY’S DEPOT offered for sale

 Counterfeit Goods.

       33.    Specifically, on September 29, 2024, GS’ investigator attended

 FROGGY’S DEPOT’s location, which was open to the public, and observed that it

 had at least three gravity infuser waterpipes which appeared to display each of the

 four aformentioned Stündenglass Marks. The investigator purchased a gravity

 infuser waterpipe with Stündenglass Marks affixed to it, from FROGGY’S DEPOT,

 for a cost of $349.99 ($370.99 after tax), charged to the account of GS’ investigator.

 Upon physical inspection by GS’ investigator, the product was found to be a

 counterfeit product in that it displayed the Infringing Marks.

       34.    Attached hereto as Exhibit “B” are the photographic examples of the

 Defendants' use of the Infringing Marks, taken from the Counterfeit Good. As seen

 in the pictures, the Counterfeit Good displayed all four of GS’ marks on it: U.S.

 Trademark Registration Number 6,633,884; U.S. Trademark Registration Number

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 6,174,292; U.S. Trademark Registration Number 6,174,291; and U.S. Trademark

 Registration Number 7,028,399. The Defendants' use of the Counterfeit Marks is

 substantially indistinguishable, if not identical, to GS’ Marks.

       35.    SANNON PAULSON authorized, directed, and/or participated in

 FROGGY’S DEPOT’s offer for sale, in commerce, of the Counterfeit Goods.

 SANNON PAULSON’s acts were a moving, active, and conscious force behind

 FROGGY’S DEPOT’s infringement of the Stündenglass Trademarks.

       36.    The Defendants’ use of the counterfeit Stündenglass Trademarks began

 after the registration of the Stündenglass Trademarks. Neither GS, nor any of its

 authorized agents, have consented to the Defendants’ use of the Stündenglass

 Trademarks, or any use of reproductions, counterfeits, copies and/or colorable

 imitations thereof.

       37.    The unauthorized offering for sale by FROGGY’S DEPOT, under the

 authority, direction and/or participation of SANNON PAULSON, of the Counterfeit

 Goods was an unlawful act in violation of the Lanham Act, 15 U.S.C. § 1114 and 15

 U.S.C. § 1125(a).

       38.    The offer for sale by the Defendants of the Counterfeit Goods bearing

 the Infringing Marks has caused GS to suffer losses and is likely to cause damage to

 the goodwill and reputation associated with the Stündenglass Trademarks, which are

 owned by GS.

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       39.    FROGGY’S DEPOT’s use of the Stündenglass Marks includes

 displaying to offer for sale unauthorized copies of Counterfeit Stündenglass branded

 products.   FROGGY’S DEPOT’s offering to sell the Stündenglass counterfeit

 products, bearing the Infringing Marks in this manner, was, and is, likely to cause

 confusion or to cause mistake and/or deceive consumers who purchase the

 Counterfeit Goods.

       40.    FROGGY’S DEPOT used images and names identical to or

 confusingly similar to the Stündenglass Marks, to confuse customers and aid in the

 promotion and sales of Counterfeit Goods under the Infringing Marks.              The

 Infringing Marks affixed to the Counterfeit Goods that FROGGY’S DEPOT has

 offered for sale are confusingly identical or similar to the Stündenglass Marks that

 GS affixes to its gravity infuser waterpipes. The Counterfeit Goods and GS’ goods

 are both gravity infuser waterpipes, and marks identical or confusingly similar to the

 Stündenglass marks appear on the Infringing Goods.

       41.    The Defendants’ Infringing Goods travel in identical channels of trade

 and are sold to identical consumers as Stündenglass genuine goods.

       42.    The gravity infuser waterpipes that FROGGY’S DEPOT sells and

 offers for sale under the Infringing Marks are made of substantially inferior and/or

 different materials as compared to genuine Stündenglass brand products.

       43.    FROGGY’S DEPOT has offered for sale its water pipes under the

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 Infringing Marks through its retail convenience store.

       44.    FROGGY’S DEPOT and SANNON PAULSON’s infringing acts as

 alleged herein have caused and are likely to cause confusion, mistake, and deception

 among the relevant consuming public as to the source or origin of the Counterfeit

 Goods sold by FROGGY’S DEPOT, and are likely to deceive, and have deceived,

 the relevant consuming public into mistakenly believing that the Counterfeit Goods

 sold by FROGGY’S DEPOT originate from, and are associated or affiliated with, or

 otherwise authorized by GS.

       45.    FROGGY’S DEPOT and SANNON PAULSON’s acts are willful with

 the deliberate intent to trade on the goodwill of the Stündenglass Marks, cause

 confusion and deception in the marketplace, and divert potential sales of the

 Plaintiff’s gravity infuser waterpipes to FROGGY’S DEPOT. The Defendants, as

 merchants of tobacco shop goods, are held to the standard of having specialized

 knowledge in the tobacco shop industry. It is readily apparent that the Defendants,

 as merchants, have failed to conduct any reasonable inquiry into the authenticity of

 the goods sold by their shop and have acted with at least willful blindness as to GS’

 intellectual property rights in the Stündenglass Marks. Here, the Defendant sold a

 counterfeit product purporting to be a black Stündenglass gravity infuser waterpipe

 for $370.99 whereas the authentic product retails for $599.95. The product sold by

 the Defendant also lacked the authentication sticker which the Plaintiff has stated on

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 its website is present on all authentic Stündenglass products.

       46.     FROGGY’S DEPOT and SANNON PAULSON’s acts have caused

 damage and immediate irreparable harm to GS, the Stündenglass Marks, and to its

 valuable reputation and goodwill with the consuming public for which GS has no

 adequate remedy at law.

       47.     As a proximate result of the unfair advantage accruing to SANNON

 PAULSON and FROGGY’S DEPOT’s business from deceptively trading on GS’

 advertising, sales, and consumer recognition, SANNON PAULSON and

 FROGGY’S DEPOT have made profits and gains to which they are not in law or

 equity entitled.

       48.     The injuries and damages sustained by GS has been directly and

 proximately caused by FROGGY’S DEPOT and SANNON PAULSON’s offers for

 sale of their goods bearing infringements or counterfeits of the Stündenglass Marks.

       49.     Through such business activities, SANNON PAULSON and

 FROGGY’S DEPOT purposefully derived direct benefits from their interstate

 commerce activities by targeting foreseeable purchasers in the State of Michigan,

 and in doing so, have knowingly harmed GS.

       50.     Furthermore, the sale and distribution of Counterfeit Goods by

 FROGGY’S DEPOT has infringed upon the above-identified federally registered

 trademarks.

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       51.    The spurious marks or designations used by FROGGY’S DEPOT in

 interstate commerce are identical with, or substantially indistinguishable from, the

 Stündenglass Marks on goods covered by the Stündenglass Marks.               Such use

 therefore creates a false affiliation between FROGGY’S DEPOT, GS, and the

 Stündenglass Marks.

       52.    Due to the actions of SANNON PAULSON and FROGGY’S DEPOT,

 GS has been forced to retain the undersigned counsel and pay the costs of bringing

 an action forward. SANNON PAULSON and FROGGY’S DEPOT should be

 responsible for paying GS’ reasonable costs of the action.

       53.    SANNON PAULSON and FROGGY’S DEPOT’s acts have damaged,

 and will continue to damage GS, and GS has no adequate remedy at law.

       54.    Moreover, FROGGY’S DEPOT and SANNON PAULSON’s wrongful

 acts will continue unless enjoined by the Court. Accordingly, SANNON PAULSON

 and FROGGY’S DEPOT must be restrained and enjoined from any further

 counterfeiting or infringement of the Stündenglass Marks.

                               Count One
     Federal Trademark Counterfeiting and Infringement, 15 U.S.C. § 1114

       55.    The Plaintiff avers Paragraphs 1 through 54, which are stated above and

 incorporate the allegations therein, as though they are fully restated in this Count by

 reference.

       56.    GS owns the federally registered Stündenglass Trademarks, as set forth
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 in more detail in the foregoing paragraphs.

       57.   The Defendants, without authorization from GS, have used in

 commerce a spurious designation that is identical with, or substantially

 indistinguishable from, the Stündenglass Trademarks on the same goods covered by

 the Stündenglass Trademarks.

       58.   The Defendants’ unauthorized use of counterfeit marks of the

 registered Stündenglass Trademarks on and in connection with the Defendants’ offer

 for sale in commerce is likely to cause confusion or mistake in the minds of the

 public.

       59.   The Defendants’ conduct as alleged herein is willful and intended to

 cause confusion, mistake, or deception as to the affiliation, connection, or

 association of the Defendants, with GS or the Stündenglass Trademarks.

       60.   The Defendants’ acts constitute willful trademark infringement in

 violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       61.   The Defendants’ actions constitute the use by the Defendants of one or

 more “counterfeit mark(s)” as defined in 15 U.S.C. § 1116(d)(1)(B).

       62.   The Defendants’ use in commerce of the counterfeit Stündenglass

 Trademarks has resulted in lost profits and business to GS, which are difficult to

 determine. The Defendants have also, by selling counterfeit Stündenglass products,

 caused considerable damage to the goodwill of the Stündenglass Trademarks, and

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 diminished the brand recognition of the Stündenglass Trademarks by introducing

 counterfeit products into the marketplace.

       63.     By reason of the foregoing, the Plaintiff is entitled to, among other

 relief, injunctive relief, an award of statutory damages, and costs of the action under

 Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

 prejudgment and post-judgment interest.

                                    Count Two
               Federal False Designation of Origin 15 U.S.C. § 1125(a)

       64.     The Plaintiff avers Paragraphs 1 through 54, which are stated above and

 incorporate the allegations therein, as though they are fully restated and incorporated

 in this Count by reference.

       65.     GS owns the federally registered Stündenglass Trademarks, as set forth

 in more detail in the foregoing paragraphs.

       66.     The Defendants, without authorization from GS, have used in

 commerce spurious designations that are identical with, or substantially

 indistinguishable from, the Stündenglass Trademarks on the same goods covered by

 the Stündenglass Trademarks.

       67.     The Defendants’ unauthorized use of counterfeit marks of the

 registered Stündenglass Trademarks on and in connection with the Defendants’

 offers for sale in commerce is likely to cause confusion or mistake in the minds of

 the public.
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       68.     The Defendants’ unauthorized use in commerce of the Stündenglass

 Trademarks as alleged herein constitutes use of a false designation of origin and

 misleading description and representation of fact in violation of Section 43(a) of the

 Lanham Act, 15 U.S.C. § 1125(a).

       69.     The Defendants’ conduct as alleged herein is willful and is intended to,

 and is likely to, cause confusion, mistake, or deception as to the affiliation,

 connection, or association of the Defendants, with GS or the Stündenglass

 Trademarks.

       70.     The Defendants’ conduct as alleged herein is causing immediate and

 irreparable harm and injury to GS, and to the goodwill and reputation of the

 Stündenglass Trademarks. Moreover, it will continue to cause damage to GS and

 confuse the public unless enjoined by this Court.

       71.     GS has no adequate remedy at law.

       72.     By reason of the foregoing, the Plaintiff is entitled to, among other

 relief, injunctive relief, an award of statutory damages, and costs of the action under

 Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

 prejudgment and post-judgment interest.

                               PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff, GS HOLISTIC, LLC, respectfully requests the

 following relief against the Defendants, as follows:

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       1.       With regard to Plaintiff’s Count I for trademark infringement:

                a. Statutory damages under 15 U.S.C. § 1117(c);

                b. Costs of suit; and

                c. Joint and several liability for SANNON PAULSON, and other

                   officers, and directors, for the knowing participation in the

                   counterfeiting activities of FROGGY’S DEPOT LLC.

       2.       With regard to Plaintiff’s Count II for false designation and unfair

 competition:

                a. Disgorgement of profits under 15 U.S.C. § 1117(a);

                b. Treble damages under 15 U.S.C. § 1117(b);

                c. Costs of suit; and

                d. Joint and several liability for SANNON PAULSON, and other

                   officers, and directors, for the knowing participation in the

                   counterfeiting activities of FROGGY’S DEPOT LLC.

       3.       Preliminarily and permanently enjoining FROGGY’S DEPOT LLC

 and its agents, employees, officers, directors, owners, representatives, successor

 companies, related companies, and all persons acting in concert or participation with

 it from:

                a. The import, export, making, manufacture, reproduction, assembly,

                   use, acquisition, purchase, offer, sale, transfer, brokerage,

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                  consignment,      distribution,     storage,    shipment      licensing,

                  development, display, delivery, marketing, advertising or promotion

                  of the counterfeit Stündenglass product identified in the Complaint

                  and any other unauthorized Stündenglass product, counterfeit, copy

                  or colorful imitation thereof;

       4.     Pursuant to 15 U.S.C. § 1116(a), directing FROGGY’S DEPOT LLC

 to file with the Court and serve on the Plaintiff’s within thirty (30) days after issuance

 of an injunction, a report in writing and under oath setting forth in detail the manner

 and form in which FROGGY’S DEPOT LLC has complied with the injunction;

       5.     For an order from the Court requiring that the Defendants provide

 complete accountings and for equitable relief, including that the Defendants

 disgorge and return or pay their ill-gotten gains obtained from the illegal transactions

 entered into and/or pay restitution, including the amount of monies that should have

 been paid if the Defendants had complied with their legal obligations, or as equity

 requires;

       6.     For an order from the Court that an asset freeze or constructive trust be

 imposed on all monies and profits in the FROGGY’S DEPOT LLC’s possession,

 which rightfully belong to the Plaintiff;

       7.     Pursuant to 15 U.S.C. § 1118 requiring that the Defendants and all

 others acting under the Defendants’ authority, at its cost, be required to deliver up to

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 the Plaintiff for destruction all products, accessories, labels, signs, prints, packages,

 wrappers, receptacles, advertisements, and other material in their possession,

 custody or control bearing any of the Stündenglass Trademarks.

       8.     For any other and further relief as the Court may deem just and

 equitable.



                                Demand for Jury Trial

       The Plaintiff demands a Jury Trial on all issues so triable.




 Date: February 20, 2025

                                                 Respectfully submitted,

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